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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                             Chapter 11
In re:
                                                             Case No. 18-11358 (MEW)
RELATIVITY MEDIA, LLC., et al.
                                                             (Jointly Administered)
                    Debtors.
                                                             Ref. Nos. 17 & 56

           REQUEST FOR CLARIFICATION BY THE MIDCAP ENTITIES WITH
           RESPECT TO THE DEBTORS’ MOTION FOR AN INTERIM BRIDGE
            ORDER AUTHORIZING, INTER ALIA, SECURED POST-PETITION
                   FINANCING AND USE OF CASH COLLATERAL

         MidCap Financial Trust, Midcap Funding X Trust, Apollo Moultrie Credit Fund, L.P.

and Apollo Tactical Value SPN Investments, L.P., in their capacity as prepetition secured lenders

(collectively, the “MidCap Entities”), through their undersigned counsel, file this Request For

Clarification (“Clarification”) to the Debtors’ Motion for Entry of Interim and Final Orders

(I) Authorizing Debtors to Obtain Secured Post-Petition Financing and Use Cash Collateral;

(II) Granting Adequate Protection; (III) Modifying The Automatic Stay; (IV) Scheduling A

Final Hearing; and (V) Granting Related Relief [Docket No. 17]) and, in support thereof, state as

follows:

                                              Background
         1.    The Debtors filed their voluntary petitions for relief under Chapter 11 of Title 11

of the United States Code on May 3, 2018. At the May 9, 2018 “first-day” hearing, the Debtors
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sought interim authority to obtain post-petition financing and to use Cash Collateral, as well as

interim authority to continue their existing cash management system.

       2.      On May 10, 2018, the Court entered an interim order authorizing the Debtors to

continue their existing cash management system in accordance with the terms thereof [Docket

No. 42] (“Interim Cash Management Order”). On May 14, 2018, the Court entered the first

interim order authorizing the Debtors to obtain postpetition financing and utilize Cash Collateral

in accordance with the terms thereof [Docket No. 56] (“First Interim DIP Order”).

       3.      The Debtors are seeking authority to extend the First Interim DIP Order pursuant

to a bridge interim DIP Order (“Second Interim DIP Order”) through the final hearing, which

is scheduled for June 12, 2018.


                                            The Clarification

       4.      The MidCap Entities are prepetition secured parties of certain of the Debtors

pursuant to agreements between the MidCap Entities and those Debtors. They seek clarification

in the Second Interim DIP Order (as well as in any final DIP order) that the Debtors are not

seeking authority to use Cash Collateral subject to the prepetition security interest of the MidCap

Entities (“MidCap Cash Collateral”).

       5.      The Interim Cash Management Order provides that “[t]he Debtors agree that (a)

they may not use cash collateral of the Midcap Entities without the written consent of the Midcap

Entities…” [¶2, Docket No. 42].

       6.      The Midcap Entities requested that the proposed Second Interim DIP Order make

clear that the Debtors’ use of Cash Collateral excludes the MidCap Cash Collateral. To date, the

responses given by counsel for the Debtors and the DIP Lenders are that while they do not



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disagree with the position taken by the Midcap Entities, there is no reason to modify the

Proposed Second Interim DIP Order. The Midcap Entities disagree and have filed this

Clarification so the issue is explicitly dealt with as part of the proposed Second Interim DIP

Order.

         7.     The MidCap Entities request that the proposed Second Interim DIP Order include

the following language (“Suggested Language”):

         “For the avoidance of doubt, the Debtors are not authorized to use the MidCap Cash
         Collateral without the written consent of the MidCap Entities. The Debtors’ use of Cash
         Collateral shall be consistent in all respects with the Interim Cash Management Order.”

                                         CONCLUSION

         WHEREFORE, the MidCap Entities requests that the Court include the Suggested

Language in the proposed Second Interim DIP Order, and grant it such other and further relief as

is just and proper.

Dated: New York, New York
       May 29, 2018                                  Respectfully submitted,


                                                     /s/ Arthur Steinberg________
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